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                           IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                     FORT PIERCE DIVISION
                               Civil Action No. 2:23-CV-14297-AMC

   CLARISSA CRUZ, ROBERT ALLAN                    )
   MARTIN, and KATRINA MARTIN,                    )
   individually and on behalf of themselves       )
   and all others similarly situated,             )
                                                  )         MEMORANDUM OF LAW IN
          Plaintiffs,                             )           FURTHER SUPPORT OF
                                                  )       PLAINTIFFS’ MOTION FOR CLASS
   v.                                             )              CERTIFICATION
                                                  )
   SELENE FINANCE, LP,                            )
                                                  )
          Defendant.                              )
                                                  )

         Plaintiffs Clarissa Cruz, Robert Allan Martin, and Katrina Martin (“Plaintiffs”) submit this
  Memorandum of Law in Further Support of Plaintiffs’ Motion for Class Certification [DE 47] and
  in reply to Defendant Selene Finance, LP’s (“Selene” or “Defendant”) Amended Response in
  Opposition to Plaintiffs’ Motion for Class Certification. (DE 75).

                                          INTRODUCTION

         Plaintiffs bring straightforward claims for violations of the Fair Debt Collection Practices
  Act, 15 U.S.C. §§ 1692, et seq. (“FDCPA”) and the Florida Consumer Collection Practices Act,
  §§ 559.72, et seq. (“FCCPA”) arising out of Selene's common practice of systematically sending
  Florida borrowers templated letters, misrepresenting that failure to fully cure their delinquency by
  a false expiration date may result in acceleration of the loan and foreclosure of their homes (the
  “Final Letters”). This is a prototype class action with obvious common issues predominating over
  any alleged individual issues. The Final Letters were materially identical and sent pursuant to
  common processes and policies. (DE 70-1 (52:14-53:07; 76:25-77:3; 87:14-88:04; 89:01-12;
  89:24-90:07)). Selene’s collection policies are identical and were applied consistently to Plaintiffs
  and all Class Members. (Id. (98:25-99:12)). Selene intended the false and misleading
  representations to be relied upon by consumers and were, in fact, relied upon by the Plaintiffs and
  Class Members. (DE 15, ¶¶ 188, 222-224). The common questions of law and fact hinge on
  identical facts and law central to the resolution of the claims of Plaintiffs and all Class Members.
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          Selene has not made any argument that should prevent certification. Courts regularly
  certify classes in debt-collection actions, including under the FDCPA and FCCPA, in the face of
  arguments that the “consumer debt” analysis requires individual inquiry. So, too, with arguments
  that damages will require individual inquiry. Rule 23 does not require there be no individual issues,
  only that these issues do not predominate. Plaintiffs satisfied each element of Rule 23(a) and (b)(3).
  None of Selene's arguments raise an individual issue that predominates over the core of common
  issues. As discussed herein and in Plaintiffs' opening brief, Plaintiffs' Motion should be granted.

                                              ARGUMENT

  I.      PLAINTIFFS SUSTAINED CONCRETE INJURIES DUE TO SELENE’S DECEPTIVE
          LETTERS.
          Selene, like many consumer protection defendants following TransUnion LLC v. Ramirez,
  141 S. Ct. 2190 (2021), claims Plaintiffs lack Article III standing because their alleged injuries
  were not sufficiently “concrete, particularized, and actual or imminent,” or caused by Selene’s
  Notices. (DE 75 at 8). 1
          But Ramirez, Spokeo v. Robins, 136 S.Ct. 1540 (2016), and Ramirez’s 11th Circuit
  predecessor, Trichell v. Midland Credit Mgmt., Inc., 964 F.3d 990, 997 (11th Cir. 2020), do not
  create an insurmountable bar to recovery. These cases stand for the proposition that the named
  Plaintiffs must simply show any injury – tangible or intangible with a close relationship to harms
  traditionally recognized as providing a basis for lawsuits in American Courts. 2 There is no “actual
  damages” requirement; there must simply be a real-world harm stemming from Selene’s blatant
  violations of state and federal law.
          While some FDCPA cases may struggle to show actual harm post-Ramirez, this case is not
  one of them because Selene intends for borrowers to rely on the contents of its Final Letters and
  act in response to the deadlines provided therein. (DE 15, ¶ 188). Plaintiffs suffered real world


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    Selene’s response focuses on Plaintiffs’ Article III standing arising out of Plaintiffs’ FDCPA and
  FCCPA claims and fails to address Plaintiffs’ standing under the Class Action Fairness Act
  (“CAFA”). Yet, in its Notice of Removal, Selene represented that Plaintiffs satisfy each of CAFA’s
  jurisdictional requirements. See (DE 1 at 3-8). Thus, Selene admitted that Plaintiffs have standing
  in the Southern District of Florida. Moreover, even if the Court were to agree the Plaintiffs lacked
  standing, the correct relief is to remand the case back to Florida state court, where the Plaintiffs
  would then move to certify a class pursuant to Rule 1.220 of the Florida Rules of Civil Procedure.
  2
    Plaintiffs’ claims have a close relationship to misrepresentation claims; in fact, Plaintiffs assert a
  negligent misrepresentation claim in their Second Amended Complaint. See (DE 15).
                                                     2
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  consequences from doing so; whether through emotional distress from the representations in the
  Letters which lead reasonable borrowers to believe that borrowers are far closer to foreclosure
  than they really are (See R. Martin Tr. 62:16–20; K. Martin Tr. 44:3–23, 47:2–48:1; Cruz Tr. 73:2–
  7, 74:3–17); or from reliance on the deadlines leading to borrowers making different financial
  decisions than they would otherwise (such as taking a loan from their retirement plan). (Cruz Tr.
  (74:11-20)). Thus, based upon their testimony, Plaintiffs have standing for violations of the
  FDCPA and FCCPA, and this action should be certified as a class.
         A. Selene’s Violations of the FDCPA and FCCPA Confer Article III Standing
            Because They Gave Rise to Plaintiffs’ Concrete Injuries.
         Standing is a low bar in matters involving violations of the FDCPA. See Muransky v.
  Godiva Chocolatier, Inc., 979 F.3d 917, 927 (11th Cir. 2020) (explaining “very nearly any level
  of direct injury is sufficient to show a concrete harm”); Salcedo v. Hanna, 936 F.3d 1162, 1167
  (11th Cir. 2019) (“A concrete injury need be only an identifiable trifle.”) (internal citations
  omitted). “[A]n FDCPA violation might cause harm if it leads a plaintiff to pay extra money,
  affects a plaintiff’s credit or otherwise alters a plaintiff’s response to a debt.” Markakos v.
  Medicredit, Inc., 997 F.3d 778, 780 (7th Cir. 2021).
         Selene relies heavily on Trichell, 964 F.3d at 997, but its reliance is misplaced. Trichell is
  simply an early version of Ramirez, where plaintiffs “received debt collection letters that they say
  were misleading, but neither of them claims to have been misled.” Trichell at 994 (emphasis in
  original). That is, the plaintiffs in Trichell could not point to any real-world impact from the letter
  in any way. Id.
         Here, Plaintiffs relied on Selene’s misrepresentations and further, this reliance caused harm
  because they (1) suffered anxiety and stress, and (2) did not understand they would have more time
  to pay to prevent acceleration of their mortgage and foreclosure of their home. 3 See (DE 15, ¶¶ 40,
  47, 54; R. Martin Tr. 62:16-20; K. Martin Tr. 44:3-48:25; Cruz Tr. 73:2-7, 74:3-17; 124:08-
  125:19). While Selene attempts to minimize the significance of these harms, any concrete harm is



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    If Plaintiffs had paid one day earlier because of their understanding of the deadlines in the Final
  Letters, that would be sufficient to confer Article III standing because it is a real-world harm
  resulting from the Letter. Selene simply ignores the time value of money. See Markakos, 997 F.3d
  at 780 (“[A]n FDCPA violation might cause harm if it leads a plaintiff to pay extra money, affects
  a plaintiff’s credit or otherwise alters a plaintiff’s response to a debt.”)


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  sufficient for Article III standing purposes. Thus, Plaintiffs have standing.
          B. Plaintiffs Established Standing Because Selene’s Notices Misled Them.
          Selene next claims Plaintiffs only alleged a risk of future harm, foreclosing the possibility
  of standing. (DE 75 at 10). But this is not what Plaintiffs contend; Plaintiffs claim they were
  harmed based on their reliance on the veracity of the Final Letters. See supra. Plaintiffs established
  a concrete harm accompanying a risk of future harm to consumers because Selene does not
  accelerate loans in the manner threatened by the Final Letters. (DE 70-1 (124:08-20)).
          Moreover, Plaintiffs are requesting injunctive relief, which establishes Article III standing
  because the risk of future harm gives rise to standing under the FDCPA. (DE 15, ¶¶ 65, 201).
  See Dream Defs. v. Governor of the State of Fla., 57 F.4th 879, 887 (11th Cir. 2023) (“A threat of
  future injury is sufficient to establish [Article III] standing when ‘the threatened injury is certainly
  impending or there is a substantial risk that the harm will occur.’”). Selene’s usage of false letters—
  and there is no evidence Selene has modified their letters since this filing—creates a substantial
  risk that additional consumers will rely on the false representations to their detriment.
          Selene further argues it is merely asking borrowers to pay money they legally owe, which
  does not amount to a concrete injury. (DE 75 at 10). However, again, Selene misrepresents and
  ignores the fact it never accelerates or forecloses on a consumer’s loan within the deadline in its
  Final Letters, and federal law does not permit Selene to foreclose on borrowers in the time frame
  suggested. (DE 70-1 (124:08-125:19)). As a result, Plaintiffs were deprived of the opportunity to
  make informed decisions regarding their financial affairs at the time those decisions were of grave
  importance. (DE 15, ¶¶ 33, 189; R. Martin Tr. 62:16-20; K. Martin Tr. 44:3-48:25; Cruz Tr. 73:2-
  7, 74:3-17; 124:08-125:19). That Plaintiffs were behind on their loans adds to the significance of
  the injury suffered; it is crucial to know exactly what is necessary to avoid acceleration and save
  their homes. Selene’s Final Letter is designed to induce consumers to believe their situation is
  more dire than it really is and harmed Plaintiffs by causing them significant emotional distress and
  led them to take actions they would not have taken were it not for the Final Letters. (R. Martin Tr.
  62:16-20; K. Martin Tr. 44:3-48:25; Cruz Tr. 73:2-7, 74:3-17; 124:08-125:19); see Rivas v.
  Midland Funding, LLC, 842 F.App’x 483, 486 (11th Cir. 2021); MSPA Claims 1, LLC v. Tenet
  Fla., Inc., 918 F.3d 1312, 1318 (11th Cir. 2019) (“compensation for lost time is nothing new”);
  Puskarich v. Equian, LLC, 2024 WL 2273616, at *6 (S.D.Ill. May 20, 2024) (finding Article III
  standing where the defendant’s wrongful conduct prompted the plaintiff to respond in a way that

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  deprived her of the use of money that belonged to her for a time). It does not matter whether
  Plaintiffs owed the underlying debt (nearly every FDCPA case involves a debt that is owed);
  Markakos, 997 F.3d at 780 (“[A]n FDCPA violation might cause harm if it … otherwise alters a
  plaintiff’s response to a debt.”). Selene's misrepresentations gave rise to injuries separate and
  distinct from Plaintiffs’ duty to pay Selene.
         C. Plaintiffs’ Emotional Harms are Sufficient to Confer Article III Standing.
         Selene next argues Plaintiffs’ emotional harms are insufficient to confer Article III
  standing. (DE 75 at 10). Yet, “[t]he Eleventh Circuit ‘ha[s] not yet decided in a published opinion
  whether emotional distress alone is a sufficiently concrete injury for standing purposes.’” Luce v.
  LVNV Funding LLC, 2023 WL 1472582, at *4 (S.D. Fla. Jan. 18, 2023) (quoting Toste v. Beach
  Club at Fontainebleau Park Condo. Ass’n, Inc., 2022 WL 4091738, at *4 (11th Cir. Sept. 7, 2022)).
  However, numerous cases in this circuit have held that emotional damages are sufficient to confer
  standing for Article III purposes. See Mraz v. I.C. Sys., Inc., 2020 WL 7125629, at *2 (M.D.Fla.
  Dec. 4, 2020) (plaintiff had Article III standing where debt collection letter caused plaintiff to
  become “extremely offended and agitated” and to worry over losing licensure for his job “which
  had strict reporting requirements for defaulted debts”); Rivas, 842 F.App’x at 486 (“Rivas’s injury
  here was tangible and his reliance on the information on Credit Management’s website had
  damaging consequences, namely loss of sleep and extreme sleep … [t]hese injuries are sufficiently
  tangible–and therefore concrete–to confer Article III standing.”). Courts around the country have
  come to the same conclusion. See Mayfield v. LTD Fin. Servs., L.P., 2021 WL 4481089 (S.D.Tex.
  Sept. 30, 2021) (plaintiff had Article III standing where debt collector’s letters caused plaintiff to
  suffer “emotional distress”); Petrillo v. Pinnacle Servs., Inc., 2024 WL 95855 (D. Nev. Jan. 9,
  2024) (same). Plaintiffs testified to significant emotional injury arising out of Selene’s FDCPA
  and FCCPA violations giving rise to standing. See (DE 15, ¶¶ 40, 47, 54; R. Martin Tr. 62:16-20;
  K. Martin Tr. 44:3-48:25; Cruz Tr. 73:2-7, 74:3-17; 78:3-79:11).
         FDCPA cases where emotional distress did not give rise to Article III standing generally
  involve findings that additional details were required to make the emotional distress claim seem
  plausible. For example, in Luce, 2023 WL 1472582, the plaintiff claimed emotional distress from
  the failure to remove a dispute notation on a credit report, but provided no additional details to
  explain why the dispute notation caused such distress. Similarly, the plaintiff in Preisler v.
  Eastpoint Recovery Grp., 2021 WL 2110794 (S.D. Fla. May 25, 2021) claimed that the word

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  “enforce” made the document “‘threatening and confusing’ to him” but did not allege that he
  otherwise acted in reliance upon the letter. Id. at *3.
          Here, Plaintiffs plausibly testified that the possibility of losing their homes based upon the
  false timeline outlined in the Final Letter caused considerable stress. This case is not about a
  particular word or a particular notation; the entire purpose of the Final Letter is to induce borrowers
  to rely upon the deadlines and act in accordance with the false severity of the situation. Plaintiffs
  have demonstrated Selene’s Final Letters were the source of their emotional injuries. (K. Martin
  Tr. 44:3-48:25; R. Martin Tr. 62:16-20; Cruz Tr. 71:13-19; 74:12-17). Selene's argument to the
  contrary is a red herring; simply because Plaintiffs had additional stressors in their lives at the time
  they received Selene's Final Letter, does not mean that Selene's Final Letters could not have been
  the source of their harm. Selene's assertions are unfounded because sending a letter stating that a
  borrower is at the edge of the ‘foreclosure cliff’ would be independently stressful, separate and
  apart from any other stressors.
          Selene also cites Cooper v. Atl. Credit & Fin. Inc, 822 F.App’x 951, 955 (11th Cir. 2020)
  for the proposition that confusion alone cannot give rise to standing under the FDCPA. But
  Plaintiffs did not testify to simple confusion. (R. Martin Tr. 62:16-20; K. Martin Tr. 44:3-48:25;
  Cruz Tr. 73:2-7, 74:3-17; 124:08-125:19). The Final Letters are not confusing; the deadline and
  potential consequences are clear. The Final Letters convey false information designed to induce
  activity by the borrower in reliance upon the deadlines conveyed therein.
          Selene also cites Trichell for the erroneous assertion that statutory damages under the
  FDCPA and FCCPA are reliant on actual damages. (DE 75 at 11). Trichell relies on §
  1692e(k)(a)(2)(A) of the FDCPA, which provides for actual damages and “such additional
  damages as the court may allow,” subject to statutory caps. Trichell, 964 F.3d at 1000. However,
  this FDCPA section provides only for individual, not class damages. Section 1692e(k)(a)(2)(B)
  goes further, stating that class members may be awarded “in the case of a class action, (i) such
  amount for each named plaintiff as could be recovered under subparagraph (A), and (ii) such
  amount as the court may allow for all other class members, without regard to a minimum individual
  recovery …” The court in Trichell relied on Renfroe v. Nationstar Mortg., LLC, 822 F.3d 1241,
  1245-46 (11th Cir. 2016) to interpret the damages provision of the Real Estate Settlement
  Procedures Act (“RESPA”), not the FDCPA or FCCPA. In Renfroe, the court included a footnote
  of dicta stating that “the use of ‘additional’ seems to indicate that a plaintiff cannot recover pattern-

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  or-practice damages in the absence of actual damages.” Id. at 1247 n.4. 4 This singular footnote on
  RESPA damages has no bearing on actual and statutory damages under the FDCPA or FCCPA.
         Selene simply ignores the numerous cases in this circuit awarding statutory damages
  without any actual damages. See Johnson v. Critical Resol. Mediation LLC, 2017 WL 2590007, at
  *4 (M.D.Fla. Apr. 24, 2017), report and recommendation adopted, 2017 WL 2578705 (M.D.Fla.
  June 14, 2017) (“The FDCPA allows recovery of actual damages, statutory damages (capped at
  $1,000) regardless of provable actual damages, reasonable attorney fees, and costs”); Montgomery
  v. Fla. First Fin. Grp., Inc., 2008 WL 2540374, at *9-10 (M.D.Fla. Aug. 12, 2008) (awarding
  statutory damages under the FDCPA but declining to award actual damages); Titus v. Com.
  Recovery Sys., Inc., 2014 WL 55016, at *3 (M.D. Fla. Jan. 7, 2014) (awarding statutory damages
  under the FDCPA and the FCCPA where no actual damages were found). Thus, statutory damages
  under the FDCPA and FCCPA are appropriate regardless of a showing of actual damages.
         D. The Martins Have Article III Standing under the FDCPA and FCCPA.
         Finally, Selene attacks the individual harms suffered by Plaintiffs. Selene argues the
  Martins’ only other alleged harm was the considerable time Ms. Martin spent on the phone with
  Selene, which it claims is not enough to confer standing. (DE 75 at 12). But again, standing is a
  low bar; wasted time is plainly enough as it shows reliance and a negative real-world consequence
  stemming from the reliance. Drake v. FirstKey Homes, LLC, 439 F. Supp. 3d 1313, 1322 (N.D.
  Ga. 2020) (May, J.) (plaintiff alleged a concrete injury of wasted time by alleging she received and
  listened to a prerecorded voicemail lasting more than thirty seconds). Ms. Martin called Selene in
  reliance on its misrepresentations. (K. Martin Tr. 44:24-45:6). Simply because Ms. Martin called
  her prior loan servicer, Shellpoint, upon receipt of prior default notices (K. Martin Tr. 28:2-7;
  23:20-24:1), does not mean that the time she spent calling Selene is not a concrete harm. 5 See Palm
  Beach Golf Ctr.-Boca, Inc. v. John G. Sarris, D.D.S., P.A., 781 F.3d 1245, 1252 (11th Cir.
  2015) (finding concrete injury based on the fact that the plaintiff's fax machine was unavailable



  4
    The Renfroe court acknowledged that the Eleventh Circuit “has not addressed in a published
  opinion whether RESPA pattern-or-practice damages are available in the absence of actual
  damages, and our unpublished opinions have used conflicting language. This question is not now
  before us …” 822 F.3d at 1247 n.4.
  5
    Spokeo and Ramirez both involved plaintiffs who were unaware that they had been harmed in any
  way. Here, contrarily, Plaintiffs and class members were required to take affirmative steps to save
  their homes directly because of Selene's misrepresentations.
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  for the minute that it took to receive and process a fax message). Moreover, the Martins testified
  to emotional distress and other harms sufficient to convey Article III standing. (K. Martin Tr. 44:3-
  48:25; R. Martin Tr. 62:16-20).
           E.   Cruz Has Article III Standing under the FDCPA and FCCPA.
           Selene next argues Cruz is unable to prove she withdrew retirement funds in reliance on
  the Final Letters, and thus does not have standing to sue. (DE 75 at 12). First, as established supra,
  Cruz established significant emotional damages giving rise to standing under Article III Cruz’s
  withdrawals only further demonstrate her reliance on Selene's Final Letters and resulting harm.
           Second, Cruz withdrew funds twice from retirement savings in response to Selene’s Final
  Letters. Cruz Tr. 78:16-79:8. Selene makes several bald assumptions – that Cruz could not have
  withdrawn money in reliance on the Final Letters because she made payments after the cure date
  and paid only a partial amount. (DE 75 at 12-13). This is not the standard for determining Article
  III standing because it only matters that Cruz withdrew money from her retirement account or even
  contemplated withdrawing money in response to the Final Letters. Thus, Cruz's actions are
  sufficient to convey standing. Markakos, 997 F.3d at 780 (“[A]n FDCPA violation might cause
  harm if it leads a plaintiff to pay extra money, affects a plaintiff’s credit or otherwise alters a
  plaintiff’s response to a debt.”).
  II.      PLAINTIFFS ESTABLISHED TYPICALITY AND ADEQUACY UNDER RULE
           23(A).
           Selene next contends Plaintiffs do not have standing and thus do not satisfy the typicality
  requirement of Rule 23(a). (DE 75 at 13). Not so. Plaintiffs have standing to sue under the FDCPA
  and FCCPA, as discussed at length supra. Even assuming arguendo that Selene’s FDCPA and
  FCCPA violations did not confer standing, Plaintiffs also have standing under CAFA, as Selene
  conceded in its Notice of Removal. See (DE 1 at 8 (“this Court has original jurisdiction over the
  Instant Action pursuant to CAFA”)).
        A. Selene’s Pre-Suit Notice Provision Supports Class Certification.
           As set forth below, the notice and cure provision in Plaintiffs’ Mortgages is irrelevant for
  claims asserted against Selene. But even if relevant, it supports class certification because
  Plaintiffs’ Mortgages are uniform instruments with materially identical terms as those of all other
  class members. See (DE 39-3, Florida Single Family-Fannie Mae/Freddie Mac Uniform
  Instrument). Because Plaintiffs do not dispute that they or Class Members sent pre-suit notices,


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  this is simply another common factual and legal issue supporting class certification. Selene’s
  arguments are both substantively flawed and merits-based, making it appropriate for resolution at
  summary judgment. Amgen Inc. v. Connecticut Ret. Plans & Trust Funds, 568 U.S. 455, 466
  (2013) (“Rule 23 grants courts no license to engage in free-ranging merits inquiries at the
  certification stage.”)
          i. Selene, as a loan servicer, is not entitled to pre-suit notice.
          Even if Selene’s merits-based arguments could be addressed at class certification, which
  they cannot, Selene cannot enforce the notice and cure provision. Selene is merely the servicer of
  Plaintiffs’ Mortgages—it was not a party to the contracts nor a party through assignment or power
  of attorney executed by the holder of Plaintiffs’ Mortgages, U.S. Bank Trust National Association
  (“U.S. Bank”). The plain-language of Plaintiffs’ Mortgages entirely detaches the rights and
  obligations of the Lender from any “Loan Servicer” like Selene. For example:
          •       “Borrower” is defined as the individual mortgager. (DE 39-3 (the “Mortgages”) at
                  p. 1, ¶ (B)).
          •       “Lender” is exclusively refers to the entity that originated the loan. (DE 39-1 and
                  DE 39-3 at p. 1, ¶ (C)).
          •       “Loan Servicer” is exclusively defined as the entity “that collects Periodic
                  Payments due under the Note and [] Security Instrument and performs other
                  mortgage loan servicing obligations under the Note, this Security Instrument, and
                  Applicable Law.” (DE 39-3 at p. 13, ¶ (20)).

          The Mortgages’ plain language clearly separates the servicing responsibilities from the
  ownership and assignment of the Security Instrument and Note. For example, the Mortgages
  explicitly state that all or part of the original Lender’s interest in the Note may be sold “together
  with [the] Security Instrument,” resulting in a new holder of the Note and only possibly resulting
  in a new Loan Servicer; and borrowers may experience “changes of the Loan Servicer unrelated
  to the sale” of their Note. (Id., ¶ 20). If, following such a sale, the mortgage “is serviced by a Loan
  Servicer other than the purchaser of the Note, the [servicing obligations] are not assumed by the
  Note purchaser.” (Id.). Therefore, the Mortgages' pre-suit notice provision—which refers only to
  each Mortgage’s “Lender” and “Borrower,” and never to any other party—does not apply to Selene
  as the “Loan Servicer” and does not bar Plaintiffs’ claims. (Id., ¶ 22).


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           Recognizing this fact, Selene misrepresents the language in the Mortgages, asserting
   "Plaintiffs' mortgages require that they provide pre-suit notice and an opportunity to cure before
   filling a lawsuit that arises from [Selene's] actions pursuant to this Security Instrument.” (Martin
   Dep. Ex. 4 ¶ 20; Cruz Dep. Ex. 12 ¶ 20)." (DE 75 at 19). Neither Plaintiffs' Mortgage mandates a
   notice and cure requirement to Selene—the contractually defined Loan Servicer—for violating the
   FDCPA or the FCCPA, and Selene's statement is a misrepresentation of the mortgage instrument.
   Cruz Dep. Ex. 12 ¶ 20. The Mortgages only mention that the Borrower or Lender must provide
   notice to the other party for actions arising out of the security instrument. (DE 75-3 at 146 ¶ 20).
   This is a stark misrepresentation.
           Indeed, courts interpreting identical language in Mortgages have found loan servicers like
   Selene are not entitled to pre-suit notice. See, e.g., Schmidt v. Wells Fargo Home Mortg., 2011 WL
   1597658, at *3 (E.D. Va. Apr. 26, 2011), aff'd, 482 F. App'x 868 (4th Cir. 2012) (“The notice-and-
   cure provisions in the deeds of trust bind the borrower and the lender, not the borrower and the
   loan servicer.”); Johnson v. Specialized Loan Servicing, LLC, 2017 WL 4877450, at *2 (M.D. Fla.
   Oct. 24, 2017) (finding “the ‘notice-and-cure’ provision applies only to disputes between Plaintiff
   and her lender concerning acts relating to the mortgage contract. The clause imposes no such
   obligations regarding disputes Plaintiff has with SLS, which services the loan secured by the
   mortgage.”); Giotta v. Ocwen Fin. Corp., 2015 WL 8527520, at *5-6 (N.D.Cal. Dec. 11, 2015)
   (finding where “[n]othing on the fact of the complaint or in the deed of trust itself suggests that
   the lender has transferred property rights to [the servicer] … under the plain language of the
   contract it does not appear that the notice-and-cure provision in paragraph 20 may be extended to
   loan servicers via paragraph 13”); Patrick v. Teays Valley Trustees, LLC, 2012 WL 5993163, at
   *9 (N.D.W.Va. Nov. 30, 2012) (“[T]he Notice-and-Cure Provision in the Plaintiffs’ Deed of Trust
   expressly bind the borrower and lender – not the borrower and a loan service provider or substitute
   trustee.”).
           Moreover, the recorded assignments and limited power of attorney mentioned by Selene
   do not entitle it to invoke the pre-suit notice provision. The relevant assignments of Plaintiffs’
   Mortgages states that U.S. Bank alone is the assignee of each Mortgage. (See DE 39-2 p. 2; DE
   39-4 p. 9). Selene is merely an intermediary for U.S. Bank; it has never had any interest in or
   entitlement to the benefits of the Mortgages via the assignment; it only has the responsibility to
   handle the communications and payments intrinsic to servicing a mortgage loan. The limited

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   power of attorney merely grants Selene authority “to execute and acknowledge in writing or by
   facsimile stamp all documents customarily and reasonably necessary and appropriate for the tasks”
   outlined in just twelve enumerated responsibilities, none of which expressly or impliedly include
   any term granting Selene the power to enforce the pre-suit notice provision.
          Finally, even if such power to enforce the notice provisions was intended, the limited power
   of attorney was not executed until November 2, 2023—more than one year after the Martins
   received their Final Letter, and nearly six months after Cruz received her Final Letter. (DE 10; DE
   10-1; and DE 10-2). Thus, neither the recorded assignments nor the limited power of attorney
   provide support for Selene’s assertion that the pre-suit notice provision is applicable.
          ii. The Notice and Cure Provision is also Inapplicable Because Plaintiffs’ Claims Do
              Not Arise Under the Mortgages.
          Moreover, even if Selene could establish that the pre-suit notice provision is applicable,
   Plaintiffs’ claims simply do not arise under their Mortgages. Selene cites to several cases to argue
   Plaintiffs’ individual claims are barred by the notice and cure provision. (DE 75, p. 13-14). These
   cases are extremely light on analysis but nonetheless distinguishable. 6 For example, in Kurzban v.
   Specialized Loan Servicing, LLC, 2018 WL 1570370, at *2 (S.D. Fla. Mar. 30, 2018), the Court
   found that the notice-and-cure provision applied to an action against a servicer where the servicer
   was “not a party to the Mortgage.” Id. at 3. Here, however, Selene is specifically identified and
   defined in the Mortgages as a “Loan Servicer”, which is wholly separate from the party authorized
   to enforce the notice-and-cure provision—the Lender. See supra, p. 9. The other case cited by
   Selene, Sotomayor v. Deutsche Bank Nat’l Tr. Co., 2016 WL 3163074, at *3 (S.D. Fla. Feb.
   5, 2016), did not consider the contractual authorization issue analyzed in Section i and cursorily
   addressed in Kurzban, but instead solely analyzed whether plaintiff’s claims “arise” under the
   mortgage loan. Id. In Sotomayor, the plaintiffs challenged the property inspection fees that were



   6
     Selene curiously cites Franze v. Equitable Assurance, 296 F.3d 1250, 1254 (11th Cir. 2002) for
   the proposition that named plaintiffs whose own claims were barred by the statute of limitations
   could not represent the class. Yet, Franze has nothing to do with a pre-suit notice and cure
   requirement. Instead, it deals with statute of limitations issues, but there has been no allegation
   that Plaintiffs' claims are barred by the statute of limitations. Regardless, if the defense applies on
   the statute of limitations, its application is subject to common proof. Camafel Bldg. Inspections,
   Inc. v. Bellsouth Advert. & Publ’g Corp., 2008 WL 649778, at *9 (N.D. Ga. Mar. 7, 2008) is
   similarly irrelevant because it dealt with whether the voluntary payment doctrine applied to bar
   claims. There is no mention of a notice and cure provision in Camafel Bldg. Inspections, Inc.
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   charged, assessed, and collected pursuant to the mortgage. Id. at *1. The court found that because
   the mortgage provided the specific basis for both conducting property inspection and charging
   fees, the claims “relate[d] to” the mortgage. Id. at *2. In doing so, however, the Sotomayor court
   noted that courts in the Southern District of Florida reject the notice-and-cure requirement when
   the claims allege violations of duties owed by other statutory provisions rather than the mortgage.
   Id. (citing to St. Breux v. U.S. Bank, Nat. Ass'n, 919 F. Supp. 2d 1371, 1374 (S.D. Fla. 2013) (notice
   and cure provision did not apply to the plaintiff’s TILA claim because the violation related to a
   duty owed by reason of TILA, not the mortgage). That is exactly what is happening here.
          Plaintiffs are not challenging Selene’s authorization to service the debt or assess any fees
   pursuant to a contractual provision of the Mortgages, nor are they asserting Selene’s debt collection
   activities giving rise to Plaintiffs’ claims derive from an incorrect or unlawful interpretation of any
   contract provision within the Mortgages. Instead, Plaintiffs claim Selene’s false representations in
   its Final Letters violate the FDCPA and FCCPA. Plaintiffs’ claims arise solely from Selene’s debt
   collection activities, all of which implicate an independent statutory duty outside the duties owed
   within the mortgage itself and are therefore not subject to any notice and cure provision in the
   underlying mortgage contracts.
          Belcher v. Ocwen Loan Servicing, LLC, 2016 WL 7243100 (M.D. Fla. Dec. 15, 2016) is
   also instructive on this issue. In Belcher, the defendant argued the plaintiff failed to comply with
   the notice and cure provision of the underlying mortgage contract. Id. at *4. The court held that
   “because the causes of action arise directly from alleged deceptive business practices that are
   prohibited by the FDCPA and FCCPA, rather than the mortgage itself . . . the notice-and-cure
   provision is inapplicable. Belcher has a statutory right of action that is independent from the
   requirement under the mortgage agreement to give pre-suit notice.” Id. (internal citations and
   quotations omitted). The majority of courts similarly concluded that the notice-and-cure provision
   are inapplicable when the claims exist independent of any terms in a mortgage. 7 See e.g., Foster


   7
    Harrington v. Fay Servicing, LLC surveyed a variety of courts holding notice-and-cure provisions
   are inapplicable “where purely statutory rights are being enforced.” 2019 WL 4750140 at *5
   (N.D.Ill. Sep. 30, 2019). When claims “could be characterized as breach of a contractual provision
   in the mortgage agreements” themselves, the notice-and-cure provision may be implicated. But
   they are inapposite when the claims involve state statutes rather than contracts, deceptive business
   practices, or attempts by a party to contract around consumer protection statutes. Id. Harrington
   also noted the absurdity of enforcement in situations, as here, where the unlawful conduct is
   unrelated to a breach of a mortgage provision. Selene’s deceptive conduct arises not from the
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   v. Green Tree Servicing, Inc., 2017 WL 5151354, at *3 (M.D. Fla. Nov. 3, 2017) (denying
   summary judgment upon finding plaintiff’s claims “arise from alleged violations of consumer
   protection statutes,” the FCCPA and FDCPA); Garay v. Select Portfolio Servicing Inc., 2020 WL
   10823745, at *3 (S.D. Fla. Aug. 7, 2020), report and recommendation adopted, 2020 WL
   10823759 (S.D. Fla. Aug. 31, 2020) (holding pre-suit notice and cure provisions in a mortgage do
   not apply to FCCPA claims when the servicer charged a "processing fee"); St. Breux, 919 F. Supp.
   2d at 1374 (notice and cure provision did not apply to a TILA claim).
          In arguing that compliance with the notice-and-cure provision is a condition precedent to
   certifying Plaintiffs' FDCPA and FCCPA claim, Selene truncates the provision by isolating the
   broad language “arises from the other party's actions pursuant to this Security Instrument” and
   asserts that these allegations required Plaintiffs to provide Selene notice prior to commencement
   because Selene's actions in attempting to collect the debt arose from and were pursuant to the
   Mortgage. However, the provision as a whole does not align with Selene's parsing. In Mills v.
   Select Portfolio Servicing, Inc., 2018 WL 5113001, at *5 (S.D. Fla. Oct. 19, 2018), the court held
   the notice and cure provision “is circumscribed to breaches of provisions, and duties owed, within
   the mortgage itself, and the defendant did not identify any provision of the mortgage that was
   allegedly breached giving rise to plaintiff's claims”, not to actions arising out of the FCCPA or
   FDCPA. See further, Colon v. Nationstar Mortg. LLC, 2015 WL 7422598 at *2 (S.D.Fla. Nov. 17,
   2015) (holding that, where the defendant never “highlighted any provision in the Mortgage that
   relates to the use of an automatic dialing system in collecting the underlying debt,” the plaintiff’s
   claims under TCPA “exclusively relate to a violation of the TCPA and not a concomitant breach
   of the Mortgage, which forecloses any compliance with the notice and cure provision[;]” thus,
   “even if the [provision] relates to the mortgage,” the plaintiff “was not contractually obligated to
   comply with such provision before initiating his TCPA claim”); Lopez v. Nationstar Mortg. LLC,
   2021 WL 4990958 at *4 (S.D.Fla. Jan. 19, 2021) (“The Court agrees with Plaintiff's primary
   argument—that Defendant was not entitled to notice” because “the pre-suit notice provision
   applies specifically to claims arising out of ‘the other party’s actions pursuant to’ the Mortgage,



   mortgage, but from Selene’s internal business practices, the Fannie Mae Servicing Guidelines, and
   the Code of Federal Regulations—all of which restrict Selene from accelerating and foreclosing
   as threatened. Put simply, had Plaintiff reviewed her mortgage with a fine-tooth comb she would
   have been unable to notify and provide Selene with an opportunity to cure its unlawful conduct.
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   or a breach of the Mortgage, [and] Plaintiff does not allege a breach of any provision of the
   Mortgage”). Plaintiffs’ FDCPA and FCCPA claims are wholly independent from those in the
   Mortgages because Selene’s misrepresentations in the Final Letters are simply not within the scope
   of the Mortgages or the pre-suit notice provisions.
          B. Mr. Martin is an adequate class representative.
             Selene next argues Mr. Martin is not an adequate class representative because he could not
   recall reading Selene’s Final Letter. (DE 75 at 14). This is simply not the FDCPA standard. For an
   FDCPA claim, “the Court need not determine whether the named plaintiff or other putative
   plaintiffs read or were confused by the notice, as the standard is whether the 'least sophisticated
   consumer' would have been misled.” Swanson v. Mid Am, Inc., 186 F.R.D. 665, 668 (M.D.Fla.
   1999) (citing Jeter v. Credit Bureau, Inc., 760 F.2d 1168, 1175 (11th Cir. 1985)). It matters only
   Selene was engaged in the uniform practice of sending out misleading Final Letters threatening
   acceleration and/or foreclosure to establish liability under the FDCPA. (DE 70-1 (160:14-21;
   161:16-24)). Under the FDCPA, an individual authorized to sue does not have to suffer any actual
   harm from the debt collector's failure to abide by the strictures of the Act. See Harper v. Better
   Business Services, Inc., 961 F.2d 1561, 1563 (11th Cir. 1992) (allowing statutory damages where
   no proof of actual damages shown). Further, Mr. Martin stated he reads all of his mail, and he read
   Selene’s Final Letter in or after August 2022. (R. Martin Tr. (14:16-18; 48:5-10)
          C. Ms. Cruz is an adequate class representative
             Cruz is not, as Selene argues, subject to a unique defense, because her loan was taken for
   “personal, family, or household purposes” under the FDCPA and FCCPA. See 15 U.S.C. §
   1692a(5); Fla. Stat. Ann. § 559.55(6). Selene provides no support for this other than the fact that
   Cruz did not move into her property until eleven months purchasing it. (DE 75, p. 14). Selene does
   not allege for what other purpose Cruz acquired her loan. Simply because Cruz did not move into
   the property for a few months following has no bearing on whether her loan was secured for
   “personal, family, or household purposes.” Regardless, “[a]ny disputes regarding whether a
   particular class member's debt is consumer or commercial can be remedied through proper drafting
   of the claim form, and at the damages phase of this case.” Collins v. Erin Cap. Mgmt., LLC, 290
   F.R.D. 689, 700 (S.D. Fla. 2013) (internal citations omitted).
   III.      PLAINTIFFS SATISFY THE ELEMENTS OF RULE 23(b)(3).
          A. Common Questions Predominate Over Individualized Questions.

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          It is not necessary for “each element of plaintiff[s’] claims [to be] susceptible to classwide
   proof,” but only for “common questions [to] predominate over any questions affecting only
   individual class members.” Amgen Inc. v. Connecticut Ret. Plans & Trust Funds, 568 U.S. 455,
   469 (2013) (cleaned up). This is a prototype class action with obvious common issues
   predominating over any alleged individual issues. Selene’s Final Letters were materially identical
   and sent pursuant to common processes and policies. (DE 70-1 (52:14-53:07; 76:25-77:3; 87:14-
   88:04; 89:01-12; 89:24-90:07)). Selene’s collection policies are identical and were applied
   consistently to all class members. (Id. (98:25-99:12)). Selene intended for the false and misleading
   representations to be relied upon by consumers and were, in fact, relied upon by the Plaintiffs and
   Class Members. (DE 15, ¶¶ 188, 222-224). The common questions of law and fact hinge on
   identical facts and law central to the resolution of all claims of Plaintiffs and all Class Members.
          Contrary to Selene's arguments, Plaintiffs demonstrated that liability and damages in this
   instant case are susceptible to class wide resolution. Plaintiffs’ legal theory relies on objective
   standards rather than individualized analysis such as causation or reliance. The relevant consumer
   protection statutes protect consumers from unlawful threats and misrepresentations contained
   within the Final Letters and prescribe statutory penalties such as threats and misrepresentations.
   The same evidence will be used to establish Selene’s liability for both the Florida State Law Class
   and the FDCPA sub-Class.
         i.   Standing is a Class-wide Question.
          Selene argues that whether class members have standing is an individualized question
   because each putative class member must individually demonstrate he or she has Article III
   standing. (DE 75, p. 15). First, as discussed supra, the named Plaintiffs have standing, giving rise
   to standing for the remainder of the class. Individual class members’ standing need not be
   determined at the certification stage. See TransUnion, 141 S.Ct. at 2207-08, 2208 n.4 (“We do not
   here address the distinct question whether every class member must demonstrate standing before
   a court certifies a class.”) Moreover, the Eleventh Circuit has held that only “at least one named
   class representative [have] Article III standing for each class subclaim.” Weiss v. General Motors
   LLC, 418 F.Supp.3d 1173, 1179 (S.D.Fla. 2019) (citing Prado v. Bush, 221 F.3d 1266, 1279
   (11th Cir. 2000)); Collins v. Quincy Bioscience, LLC, 2020 WL 3268340, at *15 (S.D.Fla. Mar. 19,
   2020) (named plaintiff had standing to represent other class members who purchased other product
   varieties containing the same active ingredient).

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          Second, as articulated above, each Class Member has standing because Selene intends for
   the false representations in the Final Letters to be read and relied upon by consumers in making
   their financial decisions. (DE 15, ¶ 188). When class member standing must be determined, which
   again is not at certification, a jury could find that all borrowers would read Selene’s letters, rely
   on its contents and act accordingly. Further, typically for FDCPA and FCCPA purposes, “the Court
   need not determine whether the named plaintiff or other putative plaintiffs read or were confused
   by the notice, as the standard is whether the “least sophisticated consumer” would have been
   misled.” Swanson v. Mid Am, Inc., 186 F.R.D. 665, 668 (M.D.Fla. 1999) (citing Jeter v. Credit
   Bureau, Inc., 760 F.2d 1168, 1175 (11th Cir. 1985)). Courts in this circuit and across the country
   have certified FDCPA classes where misleading debt collection letters were sent to the class. See
   Fuller v. Becker & Poliakoff, P.A., 197 F.R.D. 697, 698-99 (M.D.Fla. 2000) (FDCPA claims
   certified where defendant sent collection letters to class members: (1) failing to state the amount
   of the debt; (2) contradicting and overshadowing the validation notice; (3) falsely representing a
   remedy available to the creditor, and (4) using false representation or deceptive means in an
   attempt to collect the debt.); Rivera v. Amalgamated Debt Collection, 462 F.Supp.2d 1223
   (S.D.Fla. 2006) (class certification granted against debt collector under FDCPA and other state
   statutes relating to two standard form letters that debt collector sent to consumer plaintiff); West v.
   Costen, 558 F.Supp. 564, 572-573 (W.D.Va. 1983) (class certified regarding failure to provide
   required “validation” notices); Can v. TransUnion Corp., 1995 WL 20865 (E.D.Pa. 1995)
   (FDCPA class certified regarding defendant's transmission of misleading collection notices to
   consumers); Colbert v. TransUnion Corp., 1995 WL 20821 (E.D.Pa. 1995) (same); Brewer v.
   Friedman, 152 F.R.D. 142 (N.D.Ill. 1993) (FDCPA class certified regarding transmission of
   misleading collection demands). Because Selene sent the same misleading Final Letters in
   violation of the FDCPA and FCCPA (DE 70-1 (52:14-53:07; 76:25-77:3; 87:14-88:04; 89:01-12;
   89:24-90:07)), a court need only determine whether a least-sophisticated consumer would be
   misled, not whether each individual putative class member was misled. See Avila v. Rubin, 84 F.3d
   222, 227 (7th Cir.1996) (plaintiff need not present evidence that consumers were actually misled
   by the notice, but merely that the notice itself was misleading and contradictory).
        ii.   Class Damages are Susceptible to Class-wide Proof.
          Selene next argues that the calculation of damages calls for an individualized inquiry. (DE
   75, pp. 16-17). This is not true. As the Eleventh Circuit explained, “the presence of individualized

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   damages issues does not prevent a finding that the common issues in the case predominate,” and
   “even if courts must confront some individualized damages issues, common issues predominate if
   liability can be determined on a class-wide basis.” Herrera v. JFK Med. Ctr. Ltd. P’ship, 648
   Fed.App’x 930, 936 (11th Cir. 2016). For example, the fact that the amount of damages to be
   awarded might vary with each individual class member “is not enough to defeat class
   certification.” Moreno-Espinosa v. J & J Ag. Prods., 247 F.R.D. 686, 689 (S.D.Fla. 2007).
          Further, Selene is incorrect, as discussed supra, that actual damages are required for the
   award of statutory damages. See Johnson, 2017 WL 2590007, at *4 (“The FDCPA allows recovery
   of actual damages, statutory damages (capped at $1,000) regardless of provable actual damages,
   reasonable attorney fees, and costs”); Montgomery, 2008 WL 2540374, at *9-10 (awarding
   statutory damages under the FDCPA but declining to award actual damages); Titus, 2014 WL
   55016, at *3 (awarding statutory damages under the FDCPA and the FCCPA where no actual
   damages were found). Here, all class members are entitled to statutory damages resulting from
   Selene’s FDCPA and FCCPA violations, which are provided pursuant to 15 U.S.C. §§ 1692(a)
   and (b); Fla. Stat. § 559.77(2). Plaintiffs demonstrated that liability and damages in this instant
   case are susceptible to class wide resolution because the Class has damages that can be decided
   formulaically without any individualized inquiry, as those who received multiple letters will
   simply receive the same statutory damages. Swanson v. Mid Am, Inc., 186 F.R.D. 665, 668 (M.D.
   Fla. 1999) ("As Plaintiff has shown that approximately 1200 letters of the type received by Plaintiff
   were mailed between August 1996 and August 1997, Plaintiff has satisfied the requirement of
   commonality.") To the extent any putative Class Member does not wish to receive statutory
   damages, they may simply opt out. Selene cannot impose an actual damages requirement that does
   not exist simply to foreclose on a possible Class-wide resolution.
       iii.   The Purpose of the Loans is a Class-wide Question.
          Selene next argues that determining whether putative class members’ loans were for
   personal, family, or household purposes is an individualized inquiry that defeats predominance.
   (DE 75, p. 17). All FDCPA claims require consumer debt and Courts have continuously certified
   similar classes, finding that they are specifically well-organized for class-actions. See, e.g., Agan
   at 692; Fuller v. Becker & Poliakoff, P.A., 197 F.R.D. 697, 700 (M.D.Fla. 2000); Swanson, 186
   F.R.D. at 668; Stewart v. Slaughter, 165 F.R.D. 696, 700 (M.D.Ga.1996). Collins v. Erin Capital
   Mgmt., LLC, 290 F.R.D. 689, 700 (S.D. Fla. 2013) (“[A]ny disputes regarding whether a particular

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   class member's debt is consumer or commercial can be remedied through proper drafting of the
   claim form, and at the damages phase of this case.”) (internal citations omitted).
          “In cases seeking relief for conduct involving form collection letters alleged to violate the
   FDCPA[,] certification of a class action is not unusual.” Gaalswijk-Knetzke v. Receivables Mgmt.
   Servs. Corp., 2008 WL 3850657 at *2 (M.D.Fla. Aug. 14, 2008t). Whether the alleged standard
   actions violate “the FDCPA is a legal question common to all members of the putative class and
   requires proof of the same material facts.” Roundtree v. Bush Ross, P.A., 304 F.R.D. 644, 659
   (M.D. Fla. Feb. 18, 2015); see also Muzuco v. Re$ubmitIt, LLC, 297 F.R.D. 504, 515 (S.D. Fla.
   2013). “[T]he need to show that the transactions involved in a particular case are consumer
   transactions is inherent in every FDCPA class action[ ]. If that need alone precluded certification,
   there would be no class actions under the FDCPA.” Hicks v. Client Servs., Inc., 2008 WL 5479111,
   at *6 (S.D. Fla. Dec. 11, 2008) (citation omitted). As Hicks concluded, “there are means for making
   such determinations” and “proper drafting of the claim form may help exclude non-consumer
   debts.” Id. Moreover, questions regarding Selene's status as a debt collector and alleged violations
   of the FDCPA and FCCPA do not require individual determinations since it testified it treated
   everyone in a common way. (DE 70-1 (52:14-53:07; 76:25-77:3; 87:14-88:04; 89:01-12; 89:24-
   90:07)). Selene also provided no evidence it sent Final Letters to individuals whose loans were for
   purposes other than personal, family, or household. To the extent Selene knows which recipients
   of its Final Letters did not withdraw loans for this purpose – which could be identified through the
   applications on the consumers’ loans – these individuals could be excluded.
          In Muzuco, Judge Scola of the Southern District of Florida considered a motion to certify
   a class of all persons from whom the defendant, Re$ubmitIt, collected an insufficient funds fee
   during the applicable statutes of limitations, and a subclass of all persons from whom Re$ubmitIt
   collected an insufficient fund fee whose returned checks were deposited in an account with
   BankAtlantic within the applicable statutes of limitations. 297 F.R.D. at 511. The Muzuco plaintiff
   sought to certify classes for several common law claims. In certifying the proposed unjust
   enrichment class, Judge Scola noted, " Defendants' business operations are the same to all members
   of the putative class. The Plaintiff's claim is that the manner in which Defendants collected the
   [Insufficient Funds] Fees is improper. Predominance is satisfied here because the [Insufficient
   Funds] Fees were collected in the same manner for all class members." Muzuco, 297 F.R.D. at
   521. Because the claims in this case challenge Selene's uniform policies regarding the

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   representations in its Final Letters, common issues will necessarily predominate and class
   certification on Plaintiffs' claims is warranted. See Jones v. Advanced Bureau of Collections LLP,
   317 F.R.D. 284, 291 (M.D. Ga. 2016) (commonality satisfied in FDCPA class action where class
   members were subjected to a common course of conduct by the defendant); Drossin v. Nat'l Action
   Fin. Servs., Inc., 255 F.R.D. 608, 615-16 (S.D. Fla. 2009) (same).
        iv.   Plaintiffs Are Not Required to Provide Pre-Suit Notice.
          As discussed in detail supra, Plaintiffs and class members are not required to plead
   compliance with the purported “notice-and-cure” provision because 1) As the loan servicer, Selene
   is not entitled to notice; and 2) the claims do not arise under the mortgage contract where they
   arise from an independent statutory violation of the FDCPA and FCCPA. See Johnson, 2017 WL
   4877450, at *2. Moreover, the notice-and-cure provision is inapplicable because absent class
   members are not parties “joined” to a class action. Indeed, a requirement for maintaining a class
   action is that “joinder of all members is impracticable.” Fed. R. Civ. P. 23(a)(1) (emphasis added).
   Because no absent class member is being “joined” as an additional class representative, none is
   required to give pre-suit notice.
          Selene again relies on inapplicable cases—this time the cases are not FDCPA/FCCPA
   cases. Instead, Selene relies upon product liability cases where the uniform commercial code
   required pre-suit notice. For instance, in Cohen v. Implant Innovations, Inc., 259 F.R.D. 617, 625
   (S.D. Fla. 2008), the class was pursuing a claim for implied warranty regarding a defective dental
   implant product. Pursuant to the breach of implied and express warranty claim, each class member
   was required to show reliance and notice to the defendant dental product manufacturer based upon
   the uniform commercial code. Therefore, Cohen is irrelevant. Similarly, Sanchez-Knutson v. Ford
   Motor Co., 2016 WL 11783302, at *4 (S.D. Fla. July 25, 2016), the court denied class certification
   based upon the pre-suit notice requirements regarding a defective product warranty under Florida's
   Uniform Commercial Code which specifically had a notice and cure requirements. Oginski v.
   Paragon Properties of Costa Rica, LLC, 282 F.R.D. 672, 678 (S.D. Fla. 2012) is also
   irrelevant because it dealt with the purchase of properties in Costa Rica against defunct real estate
   corporations where there was a notice requirement. These cases just do not apply.
      B. A Class Action is Superior.
          Finally, Selene argues individual lawsuits are superior to a class action because the FDCPA
   and FCCPA contain mechanisms allowing individual plaintiffs to assert actions that are not simply

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   “low-dollar disputes.” (DE 75, p.19). On the contrary, the FDCPA and FCCPA provide
   specifically for class-wide resolution with the inclusion of special damages provisions for class
   actions. See 15 U.S.C. §§ 1692(a) and (b); Fla. Stat. § 559.77(2); Kennedy v. Tallant, 710 F.2d
   711, 718 (11th Cir. 1983)) (“[S]eparate [FDCPA] actions by each of the class members would be
   repetitive, wasteful, and an extraordinary burden on the courts.”) In fact, Florida courts certified
   numerous FDCPA and FCCPA class actions. See Agan, 222 F.R.D. at 696 (S.D.Fla. 2004); Fuller,
   197 F.R.D. at 700. Again, this action arises out of Selene’s materially identical Final Letters, which
   were sent pursuant to common processes and policies. (DE 70-1 (52:14-53:07; 76:25-77:3; 87:14-
   88:04; 89:01-12; 89:24-90:07)). Selene’s collection policies are identical and apply consistently to
   all Class Members. (Id. (98:25-99:12)). Selene intended the false and misleading representations
   in the Final Letters to be relied upon by consumers and were, in fact, relied upon by the Plaintiffs
   and Class Members. (DE 15, ¶¶ 188, 222-224). The uniform nature of Selene’s policies and
   practices make a class action the obvious superior choice for resolution of this matter.
           Further, all other factors of superiority weigh in favor of class treatment. There is no
   evidence that individual class members have an interest in controlling prosecution of this case or
   have commenced a previous suit against Selene for sending Final Letters. It is far more desirable
   to concentrate the litigation as a class action in this case. Given the uniformity of Selene’s
   collection policies applied to all Florida loans, the duplication of effort from individual trials would
   increase burdens on all parties, create uncertainty for Selene and waste judicial resources. There
   are no unique difficulties in managing this case as a class action. As such, superiority has been
   established.

                                              CONCLUSION

           Based on the foregoing, Plaintiffs affirmatively satisfy the requirements of Rule 23(a) and
   23(b)(3) for the Class; class certification is therefore appropriate, and Plaintiffs respectfully request
   that the Motion for Class Certification be granted in its entirety.
           Respectfully submitted, this the 22nd day of July, 2024.

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